                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI


 JABBOK SCHLACKS and WILLIAM
 SCHLACKS,
                    Plaintiffs,

                        v.                          2:24-CV-04118-BCW

 NEIL CHHEDA, SCHLACKS 2020
 TRANSFER LLC, and RC
 OPPORTUNITY LLC,
                    Defendants.




                                   NOTICE OF APPEAL

       Notice is hereby given that Defendants Neil Chheda, Schlacks 2020 Transfer LLC, and

RC Opportunity LLC appeal to the United States Court of Appeals for the Eighth Circuit from the

Order Denying Defendants’ Motion to Compel Arbitration (doc. 69), entered February 14, 2025.



Dated: March 13, 2025                           Respectfully submitted,

                                                LEWIS RICE LLC

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ny-2920689




      Case 2:24-cv-04118-BCW          Document 75       Filed 03/13/25      Page 1 of 2
                                                    MORRISON & FOERSTER LLP

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                                                    Attorneys for Neil Chheda, Schlacks 2020
                                                    Transfer LLC, and RC Opportunity LLC




                                CERTIFICATE OF SERVICE

       I, Scott A. Wissel, hereby certify that a copy of the foregoing Notice of Appeal, filed
through the CM/ECF system, will be sent electronically to the registered participants as identified
on the Notice of Electronic Filings on March 13, 2025.


Dated: March 13, 2025                               /s/ Scott A. Wissel
                                                    Scott A. Wissel




                                                2
ny-2920689




      Case 2:24-cv-04118-BCW            Document 75          Filed 03/13/25     Page 2 of 2
